           Case 1:18-cr-00253-ADA-BAM Document 145 Filed 03/17/20 Page 1 of 2



 1   KEVIN P. ROONEY California State Bar #107554
     OF COUNSEL HAMMERSCHMIDT LAW CORPORATION
 2   2445 Capitol Street, Suite 150
     Fresno, California 93721
 3   Tel: (559) 233-5333
     Fax: (559) 233-4333
 4
     Attorney for Defendant, Elias Zambrano
 5
 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
 9                                                    )
     UNITED STATES OF AMERICA,                        )    Case No.: 1:18-CR-00253-DAD-BAM
10                                                    )
                    Plaintiff,                        )    AMENDED STIPULATION TO RELEASE
11                                                    )    PASSPORT FOR RENEWAL AND
     vs.                                              )    ORDER
12                                                    )
                                                      )
13                                                    )
     ELIAS ZAMBRANO,                                  )
14                                                    )
                    Defendant.                        )
15
16
            IT IS HEREBY STIPULATED by and between Kevin P. Rooney, the attorney for
17
     defendant Elias Zambrano, and Karen A. Escobar, Assistant United States Attorney, that Mr.
18
     Zambrano’s passport will be released to him for renewal only and pursuant to the following
19
     conditions:
20
            As soon as reasonably possible and within two business days after the passport is released
21
     to him, Mr. Zambrano shall mail the passport and the appropriate forms (DS 82) and all required
22
     materials (photograph and fee) to the appropriate National Passport Processing Center. As soon
23
     as reasonably possible, and not later than 15 business days after the mailing, Mr. Zambrano shall
24
     check the status of his passport renewal application through https://passportstatus.state.gov/ and
25
     report the result to the PreTrial Services office. Mr. Zambrano shall continue to keep the
26
     PreTrial Services office update at their direction.
27
28




                                                       1
           Case 1:18-cr-00253-ADA-BAM Document 145 Filed 03/17/20 Page 2 of 2


            As soon as reasonably possible and within two business days after a renewed passport is
 1
     received by Mr. Zambrano, he shall return the passport to the Clerk of this Court and provide a
 2
 3   receipt documenting that return to the PreTrial Services Office.

 4
     IT IS SO STIPULATED.
 5
 6   Dated: March 16, 2020                                /s/ Kevin P. Rooney
                                                          KEVIN P. ROONEY
 7
                                                          Attorney for Elias Zambrano
 8
 9   Dated: March 16, 2020                                /s/ Karen A. Escobar
                                                           Karen A. Escobar
10                                                        Assistant United States Attorney
11
12                                               ORDER
13          IT IS SO ORDERED that U.S. passport No. 453104894, received by this Court on June
14   13, 2019, shall be released forthwith to Mr. Elias Zambrano pursuant to the terms of the above
15   stipulation and Mr. Elias Zambrano is ORDERED to comply with those terms. Consistent with
16   this ORDER, the previously calendared March 17, 2020 hearing regarding the defendant’s
17   second request to modify the conditions of pretrial release is deemed moot and vacated.
18
19   IT IS SO ORDERED.

20      Dated:     March 17, 2020                            /s/ Barbara A. McAuliffe             _
21                                                       UNITED STATES MAGISTRATE JUDGE
22
23
24
25
26
27
28




                                                     2
